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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF MICHIGAN
                                 SOUTHERN DIVISION

UNITED STATES OF AMERICA,

               Plaintiff,

v.                                                    Case No. 11-20178

WILLIAM ORVELL CREWS,                                 Honorable Patrick J. Duggan

               Defendant.
                                            /

                ORDER GRANTING MOTION TO EXTEND TIME
                       TO FILE NOTICE OF APPEAL

                        At a session of said Court, held in the U.S.
                          District Courthouse, Eastern District
                              of Michigan, on May 9, 2013.

         PRESENT:            THE HONORABLE PATRICK J. DUGGAN
                             U.S. DISTRICT COURT JUDGE

     Presently before the Court is Defendant’s Motion to Extend Time to File Notice of

appeal and Motion for Reconsideration of Sentence. In his motion to extend the time for

filing his notice of appeal, Defendant requests that the Court extend the time for filing his

notice of appeal “by 30 days.” This motion is granted.

     SO ORDERED.

                                          s/PATRICK J. DUGGAN
                                          UNITED STATES DISTRICT JUDGE

Copies to:

Ms. Carole M. Stanyar
Mark Chasteen, AUSA
